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lN THE UNITED S'l`ATES DlS'l`RlC'l` COURT
EAS'I`ERN DIS'[`RICT OF ARKANSAS
PINE BLUFF DlVlSION

Jll\/ll\/IY l\/IOSS and
MOSS l*`ARl\/IS, lNC. PLAINTIFFS

v. 5:06-CV-()l O-JLH
AMERICAN ALTERNA'I`IVE lNSURANCE

CORPORA'I`ION and BRUCE GASAWAY d/b/a
FIRS'I` ARKANSAS lNSURANCE OF DUl\/IAS l\/IcGEHEE DEFENDANTS

DEFENDAN'I"S RESPONSE
vl`O PLAINTIFFS’ MO'l`lON FOR REMAND

 

Comes the defendant, American Alternative lnsurance Corporation (hereinafter "AAIC”) by
and through its attorney, 'l`he Perkins Lavv Firm, P. A., and for its response to plaintiffs’ motion for
remand, states and alleges as follows:

Plaintiffs’ argument that AAlC is guilty of procedural posturing is like “the pot calling the
kettle black”. 'l`he plaintiffs filed suit against AAIC seeking to recover on an insurance policy issued
by AAIC to .limmy l\/loss and l\/loss Farms. Plaintiffs include a count for fraud/bad faith alleging that
AAIC attempted to trick plaintiffs into participating in binding arbitration Knowing that any suit
against A/\IC Would be subject to federal diversityjurisdiction, plaintiffs named Bruce Gasaway,
the local insurance agent, who had little, if any, involvement in the matter. 'l`he sole purpose in

naming Bruce Gasaway as a party defendant was to deprive this Court ofjurisdiction. l"lowever, the

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complaint does not state a cause of action for fraud against Bruce Gasaway. 'l`he plaintiffs
acknowledge that they withdrew their "consent” to arbitrate before the process ever began. 'l`he
plaintiffs did not act or forebear from acting based upon any allegedly fraudulent statement and
suffered no loss whatsoever 'fhe most that can be said about the complaint is that it alleges a fraud
that was never completed 'l`he complaint is wholly devoid of any facts which state a claim against
Bruce Gasaway. ln short, the plaintiffs’ naming ofBruce Gasaway is fraudulent and he should be
dismissed Plaintiffs’ motion for remand should be denied.

l"raudulentjoinder exists when a defendant is named as a party to a suit solely for the purpose
of destroying federal courtjurisdiction. Anderson v. Home lnsurance Companv, 724 l".2d 82 (8‘h
Cir. 1983). When the court finds fraudulent joinder, the non-diverse defendant is dismissed and
removal is proper. LJ. 'fhe test of whether fraudulent joinder exists is whether "on the face of
plaintiffs state court pleadings, no cause of action lies against the resident defendant.” Li at 84. lf
“there is no reasonable basis in fact and in law supporting a claim against the resident defendant”,
the federal court should retain jurisdiction over the case. Wiles v. Capitol lndemnity Corporation,
280 F.3d 868 (8th Cir. 2001). While the Court must accept allegations of fact as true when
considering a motion to dismiss, the Court is free to ignore legal conclusions, unsupported
conclusions, unwarranted inferences and sweeping legal conclusions cast in the form factual
allegations li at 87(). When the complaint fails to state any cause of action against the defendant
or states a cause ofaction that is nonexistent under state law thenjoinder is fraudulent See, l/invillc
v. Conagra Inc., 2004 W,L. 3167119(E.D. /\rk.2()()4).

A very analogous case as to the case at bar is Anderson v. llome lnsurance Companv 724

F,2d 82 (8lh Cir. 1983). In Anderson, the Court of/\ppeals refused to remand an action to state court

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when it found that the complaint failed to state a cause of action against the local insurance agent,
'l`he plaintiff sued llome lnsurance Company and its agent alleging libel and wrongful denial ofa
claim after the insurance company refused to pay a claimed tire loss. 'l`he plaintiffnamed his local
insurance agent as a defendant which effectively destroyed diversityjurisdiction. llome lnsurance
removed the case to federal court alleging fraudulentjoinder since the complaint did not state a cause
of action against the local agent, When the federal district court dismissed the agent, the plaintiff
appealed ()n appeal, the liighth Circuit Court of Appeals agreed with the lower court and stated:

()n the face ofthe pleading, Anderson stated no claim against Polittc:

Anderson and llome lnsurance were the only parties to the contract,

and Politte apparently was uninvolved in the libel claim. As a result_,

Politte is not an indispensable party, (citations omitted), and under

lied. R. Civ. Pro. 21 the district court properly dismissed Anderson’s

claim against Politte. l_d_. at 84.

ln another similar case, the liighth Circuit found fraudulentjoinder when the complaint failed

to allege the proper requisites for a cause of action. ln Wiles v. Capitol lndemnitv Corp., 280 l".3d

 

868 (8th Cir. 2()()l ), the plaintiffsued Capitol lndemnity, his local agent and the law firm handling
the matter claiming civil conspiracy, fraud, breach ofcontract and vexatious refusal to pay a claim.
'I`he case was removed to federal court and after finding fraudulent joinder, the non-diverse
defendants were dismissed ()n appeal the Court of Appeals noted that l\/lissouri law did not
recognize a cause of action for civil conspiracy against an agent ofa disclosed principal ld_. at 87().
Since the complaint did not state a claim against the local agent or the law tirm, the finding of
fraudulent joinder was upheld.

ln the case at bar, the complaint filed by the l\/loss plaintiffs fails to state a cause ofaction for

fraud and fails to state a claim against Bruce Gasaway. 'l`hc complaint alleges that AAIC

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misrepresented the terms of its policies to plaintiffs to require binding arbitration l’laintiffs`
Complaint at 11 9. lt continues and states that Bruce Gasawayl perpetrated the fraud by having the
plaintiffs sign an agreement to arbitrate. E. 'l`hen amazingly, the complaint states that plaintiffs`

'~~,

consent to arbitrate was “promptlv withdrawn before anv action was taken.... id (emphasis

 

added). ln other words, before the fraud could be perpetrated the plaintiffs withdrew and took no
action based on the alleged fraud At best, plaintiffs’ complaint alleges an attempted fraud

'l`he only allegation against Bruce Gasaway is that he had the plaintiffs sign an agreement to
arbitrate Plaintiffs’ Complaint at 1l 9. ()btaining a signature, without more, does not constitute
fraud /\ccording to plaintiffs’ motion, this one statement contains all ofthe elements of fraud and
constitutes a cause of action under Arkansas law. 'fhe plaintiffs urge the Court to infer all missing
elements ln their motion, the plaintiffs conveniently forget to mention that they "promptly"
withdrew their consent to the agreement and that they did not suffer damages as a result of

Gasaway’s actions because they withdrew “before any action was taken ”. l_d_. lt is clear that the

 

plaintiffs have manipulated the claims and the named parties in order to deny this Courtjurisdiction.

ln Briehl v. General l\/lotors Corp., 172 f". 3d 623 (8"‘ Cir. 1999), the plaintiffs filed suit

 

against General l\/lotors alleging that the /\BS braking system in their vehicles was defective by
design even though no damage had been suffered due to the def`ect. 'l`he plaintiffs claimed a loss in
the resale value oftheir vehicles as their only damage ln dismissing the suit, the Court of/\ppeals

stated that “‘at the very least, the complaint must contain facts which state a claim as a matter of

 

‘ lt is important to note that the plaintiffs do not allege that l\/lr. Gasaway was an agent for
A/\IC, had authority to act for them in this matter, or was, in fact, acting on their behalf

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law and must not be conclusory."’ E. at 627. 'l`he Court then discussed the failure ofthe plaintiffs
to specify their damages and stated:

'l`he l’laintiffs’ conclusory assertions that they, as a class, have
experienced damages (and the method the Plaintiffs usc to calculate
the damages) are simply too speculative to allow this case to go
forward 'l`he Plaintiffs’ assertion that their /\BS-equipped vehicles
are defective and that they have suffered a loss in resale value as a
result of the defect is insufficient as a matter of law to plead a claim
under any theory the Plaintiffs have advanced liven construing all
allegations in favor of Plaintiffs, we find the District Court was
correct when it dismissed the Plaintiffs` ()riginal Complaint for
failure to state a claim. M. at 629.

liike Briehl, the plaintiffs have failed to state a completed tort, omitting several key elements

 

of fraud from their pleading

'l`o constitute the tort of fraud in /\rkansas_ one must show: l) damages; 2) a false
misrepresentation ofa material fact; 3) knowledge by the defendant that the representation was false;
4) intent that the plaintiff act or refrain from acting in reliance upon the misrepresentation; and 5)
justifiable reliance which was the proximate cause of the damages /\l\/ll (Civil) 2006, 4()2. 'l`hc
facts stated in the complaint make clear that the plaintiffs did not reasonably rely on any statements
(their signatures were withdrawn), they did not act based upon any reliance (there was no arbitration
or waiver ofrights) and there were no damages ln their motion, the plaintiffs urge the Court to infer
the missing elements and to create a "colorable claim"’ on their behalf While a court may make
inferences favorable to the plaintiffconsistent with the facts, a court may not supply missing facts

or facts that do not exist in order to save a complaint from dismissal Briehl. 172 l".3d at 627. ln

 

this case, the Court would be required to infer facts that contradict the facts pled in the complaint

in order to state a cause of action.

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ln their motion the plaintiffs sidestep the issues of reasonable reliance, whether they acted
or refrained from acting, and whether any such action or forbearance proximately caused any
damage. vl`aking the plaintiff`s" facts as true, the alleged fraud was never completed, was not relied
upon and caused no damage l"or the fraud to have been completed, the plaintiffs would have had
to have been damaged or in the least, prejudiced in some manner. ln this case, the plaintiffs would
have had to have waived a right tojury trial` submitted the matter to binding arbitration and lost_ and
then discovered the misrepresentation to be false.2 ln their own words, the plaintiffs foiled the

attempted fraud by "proiiiptly/"` withdrawing their consent before they took any aetion. Reliancc on

 

the misrepresentation and action based on that reliance are essential elements of fraud llere the
complaint specifically states that neither ofthese elements are present. 'l`he plaintiffs’ complaint
basically states that defendants attempted to perpetuate a fraud but that the plaintiffs did not go along
with it.3 While the plaintiffs may be offended by the alleged misrepresentation there can not be a
cause ofaction for fraud unless all ofthe clements ofthe tort are prescnt. When the complaint states
that all elements are not prcscnt, the action must fail.

'l`hc plaintiffs gloss over the issue ofdamages by asking the Court to infer that they must have
suffered some sort ofdamage. liven in their motion, the plaintiffs are unable to communicate one
way in which they have been damaged l’laintiff`s never argue that they were forced to arbitrate,
waived any right, or were prevented from pursuing recovery on the policies l’laintiffs have not been

deprived of the ability to file suit as is evidenced by the pendency ofthis cause ln addition, it is

 

3 l’laintiffs` argument presumes that they would not prevail in an arbitration
3 'l`he plaintiffs use an analogy ofa bank robber who returns the stolen money after the
robbery. 'l`heir reliance on this analogy is misplaced Based upon the facts in the Complaint,

there was no robbery and no funds were stolen

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painfully obvious that the plaintiffs did not suffer any monetary damage4 ln fact, the complaint does
not allege that they suffered any damage whatsoever, l)amages are a key element in a fraud claim

and should not be presumed Al\/ll Civil 2006, 4()2; See, Ozark Kenworth, lnc. v.Neidecker, 283 /\rk.

 

196, 672 S.W. 2d 899 (l984). Vl`his too, the plaintiffs ask the Court to infer even though it is
factually impossible based upon the statements in the complaint vl`he plaintiffs failure to suffer any
damage condemns any action for fraud

Bruce Gasaway was named as a defendant in this action for one purpose and one purpose
only --- to destroy federal court jurisdiction 'l`hc l\/loss plaintiffs arc guilty of fraudulentjoinder and
Bruce Gasaway should be dismissed as a party defendant l’laintiffs` motion to remand should be

denied

 

4 Although they do not specify what damage they have suffered the plaintiffs state in a
footnote that they would be able to recover nominal damages, contract damages, punitive
damages and bad faith damages from Bruce Gasaway. llowever, nominal damages may only be
recovered when one has been denied a right, Cathev v. Arkansas Power & liight, Co., 193 /\rk.
92, 97 S.W. 2d 624 (l936); punitive damages may only be recovered upon proof of
compensatory damages, /\rk. Code Ann. §l6-55-2()6 (2()()3); Bell v. l\/lcl\/lanus, 294 /\rk. 275,
742 S.W. 2d 559 (l988); and bad faith damages may only be recovered against an insurance
company, /\l\/ll Civil 2()()6, 406; Country Corner l"oOd & Drug v l"irst Statc Bank & 'l`rust, 332
/\rk. 645, 966 S.W. 2d 894 (l998). Additionally, Bruce Gasaway was not a party to the contract
so they may not recover on the contract claim.

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threfore the defendant, /\merican /\lternative lnsurance Corporation, prays that plainti ffs`
motion to remand be denied and for all other relief to which it is entitled
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/\ttorney for /\merican /\lternative
lnsurance Corporation

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l hereby certify that a true and correct copy ofthe above and foregoing l)efendant’ s Response
to l’laintiffs’ l\/lotion for Remand has been forwarded to: l\/lr. C. C. Gibson, lll, (jibson & llashein
l’. li. (.`.` /\ttorney for l’laintiffs, P. (). Drawer 447, l\/lonticello, Arkansas 7l657, and l\/lr. Brooks /\.
Gill, (iill liaw l"irm, l’liC, /\ttorney for Bruce Gasaway d/b/a l"irst /\rkansas lnsurance of l)umas
l\/chehce, l35 West Waterman Street, l)umas, /\R 71639` by liCl" and United States mail with
sufficient postage to insure delivery` this é:éday of l"ebruary, 2()()6. l

G. S. Brant l’erkins v

